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                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MAINE

 In re:
                                                                       Chapter 13
                  Charles Pappas,
                                                                  Case No.: 18-20179
                                           Debtor.
 Donna Parris,
 Plaintiff,

 v.                                                      Adversary Proceeding No.: 18-02005

 Charles Pappas,
 Defendant.                                                       September 13, 2018


                 JOINT PRETRIAL STATEMENT / PRETRIAL ORDER
             PROCEEDING TO DETERMINE DISCHARGEABILITY OF DEBT


          The parties to this proceeding submit the following Joint Pretrial Statement (“JPS”) and

agree that, upon the Court’s endorsement, its terms shall govern pretrial proceedings.

  I.      Pleadings:

          (a) The Debtor may file an amended answer within 28 days of endorsement of this order.

 II.      Statement of Legal Issues:

          1.The Creditor has alleged that her debt is nondischargeable under 11 U.S.C. §

           1328(a)(4).

          2. The Debtor contends that the Creditor’s injury is not a “personal injury” under 11

           U.S.C. § 1328(a)(4).

          3. The Debtor contends that the punitive damages entered in the underlying action are

           dischargeable under 11 U.S.C. § 1328(a)(4).

          4. The Debtor contends that the attorney fees incurred by the Creditor in this and the

           underlying action are dischargeable under 11 U.S.C. § 1328(a)(4).
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       5. The Debtor contends there is a question of whether there is a legal obligation to apply

        monies paid on the prepetition judgment in a specific order of priority and If so, is that

        order of priority (for example, compensatory first, punitive second and attorney fees

        last, or some other order of priority)?

III.   Statement of Anticipated Factual Issues:

       1. The Debtor contends that the amount of damages that are nondischargeable is a factual

         issue. The Parties agreed that the Court may determine the non-dischargeability of the

         debt’s component parts, including compensatory damages, punitive damages, and

         attorneys’ fees, on a categorical basis, rather than by amount.

       2. The Debtor contends that the amount paid on the judgment is a factual issue. The

         Creditor notes that she has filed a proof of claim.

       3.The Debtor contends that the application of funds to categories of damages is a factual

         issue.

IV.    Jurisdiction:

       (a) This is a core matter, in its entirety, on which the bankruptcy court will enter final

           judgment.

           1.Ms. Parris consents to entry of a final judgment under Fed. R. Bankr. Proc. 7008.

           2.The Debtor shall indicate whether he consents in his amended answer.

V.     Jury Trial:

       (a) No.

VI.    Disclosures:

       (a) No initial disclosures are required.

       (b) No experts are anticipated.




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VII.    Discovery:

        (a) The Creditor served Request for Admissions on July 26, 2018 regarding the

            authenticity of the documents annexed to the Complaint. The Debtor should respond

            in the time permitted under the Federal Rules of Bankruptcy and Civil Procedure.

        (b) The Debtor requests an updated breakdown on how much has been paid on the

            judgment from all sources and how it has been applied against the judgment. The

            Creditor objects to this request, and notes that she filed a proof of claim in this action.

        (c) Discovery shall be completed within 45 days from the endorsement of this order.

        (d) Discovery does not stay the filing of dipositive motions.

VIII.   Initial pre-trial conference. A pre-trial conference should not be scheduled at this time. In

        the event the Court denies the Creditor’s anticipated motion for judgment on the

        pleadings and/or summary judgment, the Court should set a pre-trial conference to enter

        an order for (1) additional discovery, if required, (2) stipulations, (3) joint pretrial

        memoranda, (4) exhibits, witnesses, and experts, (5) other pre-trial motions, (6) final pre-

        trial conference, and (7) alternative dispute resolution.

 IX.    Dispositive motions. All dispositive motions should be filed within 35 days of the close

        of discovery. The Debtor should have 21 days from service of such a motion to file a

        response, and the Creditor should have 7 days from service of a response to file a reply.

  X.    Compliance. Failure to comply with the provisions of this order may result in the

        imposition of sanctions, monetary and non-monetary, including, without limitation, entry

        of an order denying the admission of exhibits, testimony of witnesses, or other

        appropriate sanctions where noncompliance has caused undue delay, expense and/or

        prejudice.




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XI.    Notice. Upon endorsement of this order, counsel for each Party shall provide a copy of

       this order to their client.

Respectfully Submitted,

Donna Parris

By:     /s/ David Lavery                                  Local Counsel:
       Greg Kirschner (admitted pro hac vice)
       David Lavery (admitted pro hac vice)               /s/ Thomas A. Cox
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       Date:     September 14, 2018              ______________________________
                                                 Michael A. Fagone
                                                 United States Bankruptcy Judge
                                                 District of Maine




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